ILND 450 (Rev. Case:    1:20-cv-04149
               10/13) Judgment in a Civil Action Document   #: 50 Filed: 08/13/21 Page 1 of 2 PageID #:1943

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

    LEGACY SPORTS BARBERSHOP LLC
    n/k/a LEGACY BRAND ENTERPRISES
    LLC d/b/a LEGACY SPORTS
    BARBERSHOP, LEGACY BARBER                                       Case No. 20 C 4149
    ACADEMY, and PANACH CORP.,                                      Judge Charles P. Kocoras
    individually and on behalf of all others
    similarly situated,

    Plaintiff(s),

    v.

    Continental Casualty Company,

    Defendant(s).

                                                       JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which       includes       pre–judgment interest.
                                        does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


               other: Judgment entered in favor of Defendant Continental Casualty Company and against
Plaintiffs Legacy Sports Barbershop LLC, Legacy Barber Academy and Panach Corp.

This action was (check one):

         tried by a jury with Judge      presiding, and the jury has rendered a verdict.
         tried by Judge      without a jury and the above decision was reached.
         decided by Judge Charles P. Kocoras on a motion to reconsider.
ILND 450 (Rev. Case:    1:20-cv-04149
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Date: 8/13/2021                                                 Thomas G. Bruton, Clerk of Court

                                                      Vettina Franklin, Deputy Clerk
